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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

    UNITED STATES OF AMERICA

    v.                                 CASE NO:    2:05-cr-71-FtM-33DNF

    JARVIS ROBINSON
                                       /

                                    ORDER

          This matter comes before the Court pursuant to Defendant

    Jarvis Robinson’s pro se Motion for Reduction of Sentence

    (Doc. # 986) pursuant to 18 U.S.C. § 3582(c)(2). On November

    28, 2011, the Court entered an Order directing the United

    States Probation Office to prepare a report regarding the

    Defendant’s eligibility for a reduction in sentence based on

    the United States Sentencing Commission’s retroactive lowering

    of the guideline sentencing range for certain crack cocaine

    offenses. (Doc. # 988). On November 28, 2011, the Probation

    Office issued a memorandum stating that Robinson is ineligible

    for a sentence reduction because he is serving the statutory

    minimum sentence.

          On March 14, 2012, the Government filed a response in

    opposition to the Defendant’s motion. (Doc. # 1001). That same

    day, Robinson filed an unopposed motion for leave to file a

    reply (Doc. # 1002), which this Court granted on March 15,

    2012 (Doc. # 1003). However, on April 4, 2012, the Federal
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    Defender moved to withdraw as counsel so that Robinson might

    proceed pro se. (Doc. # 1005). The Court granted that motion

    on April 11, 2012, giving the Defendant until May 14, 2012, to

    file a response. (Doc. # 1007). To date, Robinson has not

    responded.

          For   the    reasons    that       follow,    the    Court          finds    that

    Defendant Robinson is ineligible for a sentence reduction

    pursuant to Amendment 750 or the Fair Sentencing Act of 2010

    because he was sentenced to the mandatory minimum prison term.

    The Court therefore denies the Motion.

    I.    Background

          On January 12, 2006, Robinson pled guilty to conspiracy

    to distribute 5 kilograms or more of cocaine and 50 grams or

    more of cocaine base, and thus faced a minimum 10-year prison

    term. (Doc. # 328). On April 18, 2006, this Court imposed a

    122-month sentence. (Doc. # 522). On June 2, 2008, the parties

    filed a joint stipulation agreeing that the Defendant was

    eligible for a reduction in sentence to a total prison term of

    120   months      pursuant    to    Amendment       715    and       18    U.S.C.     §

    3582(c)(2).      (Doc.   #   909).       The    Court    accordingly         reduced

    Robinson’s     sentence      to    120    months.       (Doc.    #    910).       Thus,

    Robinson    is    now    serving     the       mandatory    minimum         sentence

    prescribed by statute.

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    II.   Analysis

          The   United    States   Sentencing       Commission    promulgated

    Amendment 750 lowering the base offense level specified in

    U.S.S.G. § 2D1.1 for cocaine base (crack cocaine) offenses as

    of November 1, 2011. The Commission decided that Amendment 750

    should be applied retroactively. Section 3582(c)(2) gives the

    district court the discretion to modify a term of imprisonment

    after it has been imposed as follows:

          in the case of a defendant who has been sentenced
          to a term of imprisonment based on a sentencing
          range that has subsequently been lowered by the
          Sentencing Commission pursuant to 28 U.S.C. 994(o),
          upon motion of the defendant . . . the court may
          reduce the term of imprisonment, after considering
          the factors set forth in section 3553(a) to the
          extent that they are applicable, if such a
          reduction is consistent with applicable policy
          statements issued by the Sentencing Commission.

    18 U.S.C. § 3582(c)(2). Section 1B1.10(a) of the Sentencing

    Guidelines provides that a reduction in a defendant’s term of

    imprisonment     is   authorized   under    §    3582(c)(2)    when   “the

    guideline range applicable to that defendant has subsequently

    been lowered as a result of an amendment to the Guidelines

    Manual listed in subsection (c).” U.S.S.G. § 1B1.10(a).

          However, this Court lacks the authority to reduce a

    statutory minimum sentence pursuant to Amendment 750. See

    United States v. Mills, 613 F.3d 1070, 1075-79 (11th Cir.


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    2010)    (finding    that    Amendment     706    to       the   crack   cocaine

    guidelines was inapplicable to defendants whose sentences were

    based on statutory mandatory minimums). Nothing in Amendment

    750 or § 3582(c)(2) permits the Court to disregard the

    statutory minimum sentence. See United States v. Eggersdorf,

    126 F.3d 1318, 1320 (11th Cir. 1997) (“Regardless of the

    guideline amendment, the language of the statutory minimum is

    clear and has been unaltered by Congress. The statute controls

    in the event of a conflict between the guideline and the

    statute.”). Because Robinson is serving the mandatory minimum

    sentence prescribed by statute, the Court finds that he is

    ineligible for a sentence reduction pursuant to Amendment 750.

            Furthermore, Robinson is not entitled to relief under the

    Fair Sentencing Act of 2010 (FSA), which amended the mandatory

    minimum sentencing for crack penalties by reducing the crack

    to powder cocaine ratio from 100:1 to approximately 18:1. Pub.

    L. No. 111-220, 124 Stat. 2372 (2010). The FSA does not apply

    to Robinson because he was sentenced before the August 3,

    2010,    effective    date    of    the    FSA,     and     the   FSA    is   not

    retroactive. United States v. Gomes, 621 F.3d 1343, 1346 (11th

    Cir. 2010), cert. denied, 131 S.Ct. 1833 (2011). Because the

    Sentencing Commission has no authority to alter statutory

    penalties,     the   FSA    did    not    contain      a    provision     making

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    statutory     changes   retroactive      but    rather    directed     the

    Commission to promulgate guidelines amendments implementing

    the act. In any event, the Defendant would remain subject to

    the same 10-year statutory minimum sentence after the FSA

    because his offense involved at least 5 kilograms of cocaine.

          Accordingly, it is

          ORDERED, ADJUDGED, and DECREED:

          Defendant Jarvis Robinson’s pro se Motion for Reduction

    of Sentence (Doc. # 986) is DENIED. Defendant Robinson is

    ineligible    for   a   reduction   in    sentence       pursuant    to   §

    3582(c)(2)    because   he   is   serving      the   mandatory      minimum

    sentence prescribed by statute.

          DONE and ORDERED in Fort Myers, Florida, this 7th day of

    June, 2012.




    Copies:
    Office of the Federal Public Defender
    United States Attorney's Office
    United States Probation office
    Bureau of Prisons
    U.S. Marshals Office
    Any pro se party



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